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                        SETTLEMENT AGREEMENT AND RELEASE

        This Settlement Agreement and Release (the "Agreement") is made by and between
Plaintiffs Madeline McDonough, Christine Geigerich, Amelia Steinman, Amanda Welsh, Justin
Beaver, Brian Cieslak, Jaquin Turnage, Sunday Alexander, Michael Gliniecki, Wesley Scribner,
Christopher Carino, Rebecca Karen, Christopher Lewis, Alton Lind, Jeffrey Schultz, Kiwana
McKoy, Sarah McAdams, Rebecca Frost, Siba Soropogui, Hunter Lucas, Sage Winn, Guetwende
Yatieogo, Kathrn Dunn, Bryan Connor, Trevor Reece, Jason Jackson, Zachar Smith, James
Padham, Marquise Blake, Laura McDivitt, Kateryna Davis, Demetrius Randall, Micah Marin,
Joshua Vecchiolla, Fiona Sergeant, Anthony Salas, Timothy Riesmeyer, Diane Horn (hereinafter,
"Plaintiffs") and Watershed, LLC and David S. Gjerde (hereinafter, "Settling Paries")
(collectively the "Parties").


        WHEREAS, Plaintiffs allege that they worked overtime and were not properly
compensated for such hours.

       WHEREAS, on or about June 12, 2015, certain Plaintiffs fied an action in the United
States District Court for the District of Marland, Case NO.1: 15-cv-01728-BPG ("the Lawsuit").
On or about August 11, 2015, certain Plaintiffs fied an Amended Complaint. On or about
November 20,2015, certain Plaintiffs fied a Second Amended Complaint.

      WHEREAS, the Lawsuit eventually named the defendants as Watershed, LLC, Foodshed,
LLC, Parts&Labor, LLC, Artifact, LLC, Farmhouse Diner and Oystershed, LLC, David S. Gjerde,
Amy L. Gjerde, and Corey Polyoka (the "Defendants").

       WHEREAS, Defendants have denied the allegations and state that Plaintiffs have been
paid properly for all hours worked.

       WHEREAS, the Parties desire to enter into this Agreement to resolve all issues related to
the Lawsuit.

        NOW, THEREFORE in consideration of the mutual agreements contained herein and
other good and valuable consideration, the receipt and suffciency of which are hereby
acknowledged, the Parties do hereby agree as follows:

        1. Recitals. The foregoing Recitals are incorporated by reference and made a
substantive par of this Agreement as if fully set forth herein.

        2. Warranties.

             A. The Parties warrant and represent that they have been fully informed and have full
                knowledge of the terms, conditions, and effects of this Agreement.

             B. The Parties warrant and represent that they have, personally or through their
                attorneys, fully investigated, to such Par's full satisfaction, all facts surounding
                the various claims, controversies, and disputes and are fully satisfied with the
                terms and effects of this Agreement.


                                                                                          ,   PLAINTFF'S
                                                                                                EXHIBIT
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           C. The Parties warrant and represent that no promise, representation, or inducement
              has been offered or made, except as herein set forth, and that this Agreement is
              executed without reliance upon any statement or representation by any other Part
             or his or her agent.

           D. The Parties warrant and represent that they have not sold, assigned, transferred,
              conveyed or otherwise disposed of any claims, judgments, demands, obligations,
              or causes of action referred to in this Agreement.

          E. The Parties warrant and represent that they are competent to understand and do
             hereby accept all terms and conditions of this Agreement as resolving fully all
             differences, disputes, claims, and potential claims between Plaintiffs and the
              Defendants.

       3. Consideration. In return for the promises in this Agreement, the Settling Parties
agree to pay Plaintiffs a total of Two Hundred Twenty Thousand Dollars ($220,000.00) to be
distributed as follows:

          . The total sum of One Hundred Thousand Dollars ($100,000.00) shall be paid to
              Plaintiffs. Of that sum, Defendants wil report Fift Thousand Dollars
              ($50,000.00), less standard legal deductions, to represent alleged unpaid wages, to
              the Internal Revenue Service ("IRS") on a W-2 form. The remaining Fift
              Thousand Dollars ($50,000.00) shall be designated as incidental (non-wage)
              damages associated with Plaintiffs' claims, which are not subject to tax
              withholdings, and which Defendants shall report to the IRS on a form 1099. The
              sums to be paid to each Plaintiff are as follows:

                            Plaintiffs                Totals
                            Madeline
                            McDonough                 $743.12
                            Christine Geigerich       $2,546.34
                            Amelia Steinman           $4,371.34
                            Amanda Welsh              $4,371.34
                            Justin Beaver             $1,947.24
                            Brian Cieslak             $5,972.64
                            Jaquin Turnage            $763.35
                            Alexander Sunday          $1,223.97
                            Michael Gliniecki         $1,890.00
                            Wesley Scribner           $3,375.00
                            Christopher Carino        $1,967.10
                            Rebecca Karen             $5,114.46
                            Christopher Lewis         $3,914.76
                            Alton Lind                $3,540.78
                            J effrev Schultz          $4,895.90
                            Kiwanna McKoy             $518.38
                            Sarah McAdams             $2,447.94

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                                Rebecca Frost                           $3,191.07
                                Siba Soropogui                          $12,591.70
                                Hunter Lucas                            $2,447.94
                                Sage Winn                               $961.69
                                Guetwende Yatieogo                      $1,477.72
                                Kathrn Dunn                             $1,967.10
                               l!~Il Connor                             $2,223.02
                                Trevor Reece                            $233.99
                                Jason Jackson                           $465.54
                                Zach Smith                              $557.82
                                 James Padham                           $2,025.36
                                 Marquise Blake                         $133.46
                                 Laura McDivitt                         $248.21
                                 Kateryna Davis                         $2,273.09
                                 Demetrius Randall                      $1,704.82
                                 Micah Martin                           $2,185.67
                                 Joshua Vecchiolla                      $3,100.90
                                 Fiona Sergeant                         $329.30
                                 Anthony Salas                          $3,034.82
                                 Timothy Riesmeyer                      $4,377.54
                                 Diane Horn                             $4,865.58
                                 Total                                   $ 100,000.00

      . The total sum of One Hundred Twenty Thousand Dollars ($120,000.00) shall be
          paid to The Law Offces of Peter T. Nicholl for attorneys' fees and expenses. The
          payment for attorneys' fees and costs wil be issued with a W -9, which wil be
             completed by The Law Offices of                        Peter T. Nicholl.

       . The total sum of Two Hundred Twenty Thousand Dollars ($220,000.00) shall be
           paid according to the payment schedule below:

 A. 12/1/16 - $50,000.00 -liquidated damages portion to be paid to each Plaintiff       (1099);

 B. 1/15/17 - $75,000.00 - first payment of attorneys' fees and costs;

 C. 3/1/17 - $50,000.00 - alleged unpaid wages portion to be paid to each Plaintiff (W-2);

 D. 4/1/17 - $25,000.00 - second payment of attorneys' fees and costs; and

 E. 5/1/17 - $20,000.00 - final payment of attorneys' fees and costs

       . Each payment set forth above shall be delivered to Benjamin L. Davis, III, The Law
             Offces of Peter T. Nicholl, 36 South Charles Street, Suite 1700, Baltimore,
             Maryland 21201.

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        4. Tax Liabilty. Payment under Section 3A of this Agreement shall be without
deduction or withholding for any federal, state, or local taxes. Settling Paries shall not withhold
on behalf of Plaintiffs any sums for income tax, unemployment insurance, workers compensation
insurance, social security, or any other withholding or benefit pursuant to any law or requirement
of any governent body. Settling Paries wil report the payments under Section 3A as non-
employee compensation on IRS Forms 1099. Settling Paries shall not have any responsibilty to
withhold any taxes or other assessments. The payment of all such taxes and other assessments shall
be the sole responsibility of Plaintiffs and shall surive termination of this Agreement. Plaintiffs
warrant and represent that each wil fully and timely pay all taxes related to the payments made
under Section 3A of this Agreement. Plaintiffs shall indemnify, defend, and hold harmless the
Settling Parties and any and all of its employees and officers, directors, and shareholders from any
and all claims, actions, demands, investigations, or judgments brought, instigated, or obtained by
any taxing authority or any other person related to taxation of payments made under Section 3A
of this Agreement, including, but not limited to, assertions of improper tax withholding by the
Settling Paries or the failure by the Plaintiffs and/or the Settling Parties to fully, timely, or properly
pay all taxes on payments made under Section 3A of       this Agreement (together, the "Claims"). This
indemnification shall include the payment by the Plaintiffs of all interest, penaltes, and taxes, and
all actual attorneys' and other professional fees, costs, and expenses incurred by the Settling Parties
as a consequence of any Claims.

        5. No Consideration Absent Execution of this Agreement. Plaintiffs understand
that the Settling Parties wil not be obligated to forward any settlement payment provided for in
this Agreement unless and until all Parties sign this Agreement and agree to fulfill the promises
contained herein.

        6. Return of Executed Agreement. Upon final execution of this Agreement,
Plaintiffs counsel, Benjamin L. Davis, III, shall return a fully executed copy to Defendant's
counsel Stephen H. Kaufman, 7 St. Paul Street, Baltimore, Maryland 21202.
        7. Dismissal of Lawsuit With Prejudice. Within five (5) business days of the
Court's approval of this Agreement, Plaintiffs' counsel, Benjamin L. Davis, III, shall fie a
dismissal of the Lawsuit with prejudice as to all Defendants.
        8. No Other Entitlement. Plaintiffs acknowledge that they are not entitled to any
compensation, benefits, or other payments except as set forth in this Agreement. Plaintiffs agree
that they have been properly compensated for all hours worked and that they are not due any
additional compensation.

        9. Release by Plaintiffs. In consideration of the monies set forth above, Plaintiffs,
and their legal representatives, agents, brokers, employees, attorneys, representatives,
predecessors, heirs, successors, and assigns, irrevocably and unconditionally, release, exonerate,
and forever discharge Defendants, and their legal representatives, agents, brokers, employees,
officers, directors, shareholders, attorneys, respective representatives, predecessors, heirs,
successors, assigns, parent companies, subsidiary companies, affiiates, insurers, reinsurers,
subcontractors, third-part administrators, and all successors in interest, from any claim, demand,
right, action or cause of action or any entitlement to attorneys' fees, costs or expenses brought
under the Fair Labor Standards Act, Marland Wage and Hour Law, the Marland Wage Payment
and Collection Act, and from any and all maner of actions, claims, debts, dues, sums of money,

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accounts, reckonings, bonds, bils, specialties, covenants, contracts, controversies, agreements,
representations, promises, variance trespasses, damages, liabilities, judgments, expenses, fees,
costs, executions, claims, proceedings, torts, fraud, negligence, bad faith, defamation, claims for
physical bodily injur, humilation, embarrassment and mental anguish, any extra-contractual
damages, and demands whatsoever, and any act known or unkown, discovered, foreseen or
unforeseen, in law or equity, which Plaintiffs ever had, now have, or may have in the future for,
upon or by reason of, arising from or related to their employment with any Defendant.

            10. Presumptions. This Agreement shall not be construed against the drafting Par.

            11. Governing Law and Interpretation. This Agreement shall be governed in
accordance with the laws of                  the State of        Maryland.

        12. No Admission of Wrongdoing. Plaintiffs agree that neither this Agreement nor the
furnishing of the consideration for this Agreement shall be deemed or construed at any time for
any purpose as an admission by the Defendants of any liability or unlawful conduct of any kind,
which is denied.

       13. Amendment. This Agreement may not be modified, altered, or changed except
upon express written consent of all Parties wherein specific reference is made to this Agreement.

            14. Entire Agreement,' Binding Effect. This Agreement sets forth the entire agreement
between the Paries hereto, and fully supersedes any prior agreements or understandings between
the Parties. This Agreement shall be binding upon and shall inure to the benefit of         the Paries, their
respective heirs, legatees, legal and personal representatives, successors, and assigns.

            15. Severabilty. Each provision of this Agreement shall be considered severable. If
any provision contained herein is held to be void, ilegal, or unenforceable, such ilegality or
unenforceabilty shall not affect any of the other provisions herein, and the remaining provisions
of this Agreement wil continue to be given full force and effect, unless the absence of that
provision materially alters the rights and obligations ofthe Parties.

            16. Promissory Note. This Agreement is secured by a Promissory Note incorporated
in its entirety herein. The Promissory Note is attached to this Agreement as Exhibit 1.

            17. Remedies (or Breach. In the event that any Part brings an action against the other
Part based on any claim released by this Agreement, that Part may plead this Agreement in bar
to any such action or enforce the Promissory Note. The Parties further acknowledge that the
remedies at law for a breach or threatened breach of any of the provisions of this Agreement would
be inadequate; in recognition of this fact, the Paries agree that in the event of a breach or
threatened breach of              this Agreement, in addition to any remedies at law, a Par, without posting
any bond, shall be entitled to obtain equitable relief in the form of specific performance, a
temporary restraining order, a temporary or permanent injunction, or any other equitable remedy
which may then be available.

            18. Section Headin¡!s. Section headings are used herein for convenience of
reference only and shall not affect the meaning of any provision of this Agreement.




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       19. Counterparts. The Parties agree that this document can be signed in counterparts
and that a facsimile or portable document fie (.pdf) of a version of this Agreement shall be given
the same force and effect as an original signature.

       IN WITNESS WHEREOF, the Parties hereto knowingly and vohmtarily execute this
Agreement as of the dates set forth below.

  TIllS is A GENERAL RELEASE AND WAIVER OF CLAIMS. YOU ARE ADVISED
      TO READ AND CONSULT WITH LEGAL COUNSEL PRIOR TO SIGNING.




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